                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

              In re: John C. Yasch          )         Case Number: 17-16712
                     Toni K. Yasch          )         Chapter 13 Proceedings
                     Debtor                 )         Judge Arthur I. Harris

        TRUSTEE’S OBJECTION TO MOTION TO MODIFY UNCONFIRMED PLAN

Now comes LAUREN A. HELBLING, the duly appointed, qualified, and standing Chapter 13 Trustee
(the “Trustee”) herein, by and through counsel, and hereby files this objection to the motion to modify
the unconfirmed plan of the Debtors filed on or about May 8, 2018. In support of her objection the
Trustee makes the following representations to the Court:

1.       The Trustee objects to the Debtors’ motion for the following reasons:
         a.     The Debtors’ projected disposable income, as stated on line 45 of the amended Form
122C-2 filed May 8, 2018, is $1,373.50, and as a result at least $82,410.00 must be offered to
unsecured creditors in order to satisfy the “projected disposable income” test of §1325 of the
Bankruptcy Code. As the proposed plan only offers $51,858.00 to unsecured creditors, it does not
satisfy the “projected disposable income” test and it should not be confirmed.

2.     The Trustee reserves the right to amend and/or supplement her objection, should additional
information be provided.

WHEREFORE your Trustee, being a proper party in interest, hereby moves this Honorable Court to
sustain her objection and deny the motion of the Debtors for the reasons cited.


                                                /S/ Philip D. Lamos
                                                PHILIP D. LAMOS (#0066844)
                                                Attorney for Lauren A. Helbling,
                                                Chapter 13 Trustee
                                                200 Public Square, Suite 3860
                                                Cleveland, OH 44114-2321
                                                (216) 621-4268




     17-16712-aih   Doc 39     FILED 05/31/18        ENTERED 05/31/18 14:37:45        Page 1 of 2
                                  CERTIFICATE OF SERVICE

I hereby certify that on May 31, 2018, a true and correct copy of Trustee’s Objection Unconfirmed
Modified Plan was served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on the
Court’s Electronic Mail Notice List:

 William J. Balena, on behalf of John and Toni Yasch, Debtors, at docket@ohbksource.com

And by regular U.S. mail, postage prepaid, on:

 John and Toni Yasch, Debtors, at 13407 Sherry Avenue, Cleveland, OH 44135


                                             /S/ Philip D. Lamos
                                             PHILIP D. LAMOS (#0066844)



LAH/pl
5/31/18




   17-16712-aih     Doc 39     FILED 05/31/18     ENTERED 05/31/18 14:37:45          Page 2 of 2
